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                                           forthe                                                           #F2 21 2115
                                               W estern DistrictofVirginia                                JULK         D       .c
                                                                                                      BY:                           .t
                                                                                                                 E         L
               United StatesofAmerica
                            V.
            CARROLL EUGENE DODSON                             CaseNo: 7:94CR40106-001
                                                              U SM No:04906-084
Date ofPreviousJudgm ent:           09/27/2011
(UseDateofLastAmendedJudgmentifApplicable)                    Defendant'sAttorney

              OrderRegardingM otionforSentenceReductionPursuantto18U.S.C.j3582/)(2)
       Uponmotionof U1thedefendantUltheDirectoroftheBureauofPrisonsI71
                                                                    ZIthecourtunder18U.S.C.
j3582(($(2)forareduction intheterm ofimprisonmentimposedbasedon aguidelinesentencingrangethathas
subsequently been lowered and maderetroactiveby theUnited StatesSentencingCommission pursuantto 28U .S.C.
j994(u),andhavingconsideredsuchmotion,
IT IS ORDERED thatthe motion is:
       U1DENIED. Z GRANTEDandthedefendant'spreviouslyimposedsentenceofimprisonment(asreflectedin
                        thelastjudgmentissued)of 399                     monthsisreduced to 352 months*                             .
1. COURT DETERM INATION OF GUIDELINE RANGE (PriortoAnyDepart
                                                           ures)
PreviousOffense Level:   38               Am ended OffenseLevel:                                  36
CriminalHistoryCategory: I                Crim inalHistory Category:                              l
PreviousGuidelineRange: 235 to 293 months Am ended GuidelineRange:                                240            to            months
Il. SENTENCE RELATIVE TO AM ENDED GUIDELINE M NGE
  (Thereducedsentenceiswithin theamendedguidelinerange.
  'Theprevioustel'm ofim prisonmentimposed waslessthan the guideline range applicabletothedefendantatthetime
   ofsentencing asaresultofa departureorRule35reduction,andthereduced sentenceiscomparably lessthan the
   amended guideline range.
V1Other(explain):
    Defendant's priorsentenceswere 164 m onths abovethe Iow-end ofDefendant'sguidelines range.A sentence of
    352 months is 164 monthsgreaterthanthe Iow-end ofthe guidelinesthatwould be applicableto Defendant
    (188-235)ifastautoryminimum werenotapplicable.Sentencereducti
                                                                onsareentirelyatthediscretionofthe
    Court.A 47-month reduction isappropriate,and the amended sentence iswarranted forthe offenses committed.
111. ADDITIONAL CO M M ENTS
    *Defendantissentenced to 352 months,butnotIess than tim e served. Defendant'ssentence consistsof352
    m onthson Count2 and 240 m onthsonCounts 6 and 61,to runconcurrentl  y tothe sentence on Count2.


Exceptasprovidedabove,al1provisionsofthejudgmentdated 09/27/2011 shallremainineffect.
IT IS SO ORDERED.
                                                                                                 !

orderoate:           c7.(                                                                            %.
                                                                                     Judge'ssignature

EffectiveDate:           11/01/2015                              Hon.Jackson L.Kiser,SeniorU.S.Di
                                                                                                strictJudge
                 (ifdifferentfrom orderdate)                                        Printed nameandtitle
